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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

ARIN MOORE,
Plaintiff,

Vv. Civil Action No. 1:19-cv-650

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ANDREW M. SAUL, )
Commissioner of the )
Social Security )
Administration, )
)

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Defendant.

 

This matter comes before the Court on the Report and
Recommendation of the Magistrate Judge dated August 10, 2020.
The parties have not filed objections to the Report and
Recommendation. Based on a de novo review of the evidence, it
appears to the Court that the Magistrate Judge’s Report and
Recommendation is neither clearly erroneous nor contrary to law.
This Court adopts the Magistrate Judge’s Report and
Recommendation; and, it is hereby

ORDERED that Plaintiff’s Motion for Summary Judgment is
GRANTED in part; Defendant’s Motion for Summary Judgment is
GRANTED in part; and this case is REMANDED to the ALJ to more
specifically evaluate the evidence in the record regarding the
Plaintiff's condition and treatment in the first four months of

2016.
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Cen. te. >, . Sp OS _

CLAUDE M. HILTON .

UNITED STATES DISTRICT JUDGE
Alexandria, Virginia

September /§ , 2020
